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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 10-0405CCC
 1) ALEXANDER RODRIGUEZ-RIOS
 a/k/a Alex Cano
 Counts ONE and TWO)
 2) DAVID LOPEZ-PIZARRO
 a/k/a Moreno
 (Counts ONE and TWO)
 3) EDWIN QUIÑONES-CEBALLOS
 a/k/a Canbuco
 (Count ONE)
 4) EDWIN QUIÑONES-ANDINO
 a/k/a Chulo
 (Count ONE)
 5) HECTOR QUIÑONES-ANDINO
 a/k/a Tito
 (Count ONE)
 6) CARLOS ESCOBAR-PEÑALOZA
 a/k/a Memin
 (Counts ONE and TWO)
 7) MARCIANO ANDINO-PIZARRO
 a/k/a Marciano
 (Count ONE)
 8) ITZAIRA QUIÑONES-ANDINO
 (Count ONE)
 9) MIGUEL ANDINO-RIVERA
 a/k/a Mickey
 (Count ONE)
 10) JESUS RIVERA-ESQUILIN
 (Count One)
 Defendants

                                        ORDER
      Having considered the Report and Recommendation filed on March 16, 2011 (docket
entry 154) on a Rule 11 proceeding of defendant Itzaira Quiñones-Andino held before
U.S. Magistrate Judge Bruce J. McGiverin on March 16, 2011, to which no opposition has
been filed, the same is APPROVED. Accordingly, the plea of guilty of co-defendant Itzaira
Quiñones-Andino is accepted. The Court FINDS that her plea was voluntary and intelligently
entered with awareness of her rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
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      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since March 16, 2011. The sentencing hearing is set for June 23,
2011 at 4:15 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on March 28, 2011.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
